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                           UNITED STATES OF AMERICA
                        DISTRICT COURT OF PUERTO RICO


UNITED STATES OF AMERICA,
                                                          CIVIL NO. 12-2039 (GAG)
       Plaintiff,

                       v.

COMMONWEALTH OF PUERTO
RICO, et al,

       Defendants



                                     URGENT MOTION

TO THE HONORABLE COURT:

       COMES        NOW      the ACLU through the undersigned                  attorneys, and

respectfully avers and prays as follows:

        The ACLU is concerned about recent announcements regarding the use of an alleged

 specialized unit of the Department of Corrections to assist the Puerto Rico Police Bureau in

 the massive rally expected in Old San Juan during this afternoon and or any other rally.

        This is contrary to the Reform Agreement and to the General Orders approved after

 extensive consideration, studies and efforts during the past 6 years. This unit (UOT) deals

 with situations inside prisons in the Commonwealth of Puerto Rico. It’s members lack the

 knowledge and training that a police officer should have in order to address mass rallies and

 crowd control technics. This may adversely affect the achievements of the Police Reform and

 put in danger the physical and emotional integrity of the protestors.

        There are some expressions made by members of the UOT unit, through social media,


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 threatening the population with the use of dangerous chemicals forbidden in the General Orders

 concerning the use of chemical agents or pepper spray, that can cause unnecessary suffering,

 and also constitute a serious health risk.

         The lack of training in the General Orders of the Puerto Rico Police Bureau Reform

 concerning Use of Force, Tactical Operations, SWAT, Use of Chemical Agents, and Crowd

 Control endangers not only the security and safety of the people participating in the mass rally

 but also the security of the police officers themselves.

         ACLU requests that this Court issue an urgent order that only PRPB officers duly

 trained in the above mentioned General Orders, can participate in the security plan for the mass

 rally of this afternoon.

         THEREFORE, the ACLU of Puerto Rico respectfully requests from this Honorable

 Court that it take notice of our recommendation and prohibit the use of the Department of

 Corrections by the PRPB and order that the only officers authorized to participate in the

 security plan for the mass rally of this afternoon are Puerto Rico Police Bureau officers

 effectively trained under the Reform.

         RESPECTFULLY SUBMMITED.

        At San Juan, Puerto Rico this July 17, 2019.

        I HEREBY CERTIFY that on this same date I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will notice the filing of this document to all

parties in this action.

                                                       /S/ FERMÍN L. ARRAIZA NAVAS
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